Case 2:06-cr-14028-KMM Document 586 Entered on FLSD Docket 04/26/2017 Page 1 of 6




                            U NITED STATES D ISTR ICT CO U RT
                            SO UTHERN DISTRICT O F FLORIDA
                          CASE NO .06-14028-CR-M OORE/LYNCH

    UNITED STATES OF AM ERICA,                                     FltEDty               C.C.
           Plaintiff,
    V.
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    M ITC HELL M A RIO N,                                            s-i.
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                                                                                ,rs:melE
                                                                                       cq
                                                                                        mc,
           Defendant.
                                       I
            REPORT AND RECO M M ENDATION ON PRELIM INARY HEARING
            AND FINAL HEARING IN RESPECT TO SUPERSEDING PETITION
             ALLEG ING VIOLATIONS O F SUPERVISED RELEASE ID.E.5601
          THIS CAUSE having come on to be heard foran evidentiary hearing on April25,

    2017 fora prelim inary and finalhearing in respectto the two violations setforth in the

    Superseding Petition,andthisCourthaving received evidence and argum entsofcounsel,

    recomm ends to the DistrictCoud as follows:

                 The Defendantis charged in a Superseding Petition Alleging Violations of

    Supervised Release (D.E.560)withthe followingviolations:
                 Violation Num ber1          Violation ofMandatory Condition,by failing
                                             to refrain from violation of the Iaw . On or
                                             about July 2, 2016, in St. Lucie County,
                                             Florida,the defendantcom m itted the offense
                                             offelony battery-priorconviction,contrary to
                                             Florida Statute 784.03(2),
                 Violation Num berz          Violation ofMandatory Condition,by failing
                                             to refrain from violation of the Iaw . On or
                                             about July 2, 2016, in Saint Lucie County,
                                             Florida,the defendantcom m itted the offense
                                             oftam peringwithwitness,victim ,orinform ant,
                                             contraryto Florida Statute 914.22(2)(b).
          2,     The government announced that it was not proceeding in respect to

    Violation Num berz setforth inthe Superseding Petition.InrespecttoViolationNum ber
Case 2:06-cr-14028-KMM Document 586 Entered on FLSD Docket 04/26/2017 Page 2 of 6




    1,the governm entpresented no Iive testim ony orwitnesses.The governm entdid offer

    Governm ent's Exhibits Nos.1 and 2 which were adm itted into evidence atthis hearing

    withoutobjection from the Defendant.
          3.     Government's Exhibit No. 1 is a cedified copy of a Judgm ent and

    Conviction from the CircuitCoud ofthe Nineteenth JudicialCircuitin and forSt.Lucie

    County,Florida,reflecting thatthe Defendantentered a plea ofnolo contendere to a

    reduced charge ofbattery,Florida Statute 784.03.The exhibitalso reflectsthatoffense

    to be a firstdegree m isdemeanorunderFlorida Iaw .
          4.     Government's Exhibit No.2 is a certified copy ofa priorJudgm entand

    Conviction of the Defendant in state coud for a charge of battery. The Judgm ent

    appears to have been rendered on M ay 20,2002.

          5.     The sole violation upon which the governm ent is proceeding in the

    Superseding Petition is Violation Num ber1 which alleges as follows:

                 Violation Num ber1         Violation ofMandatorvCondition,by failing
                                            to refrain from violation of the Iaw . On or
                                            about July 2, 2016, in St. Lucie County,
                                            Florida,the defendantcom m itted the offense
                                            offelony battery-priorconviction,contrary to
                                            Florida Statute 784.03(2).
          6.     It is the governm ent's position that since the Defendant has a prior

    m isdem eanorbattery conviction as referenced in Governm ent's ExhibitNo.2,thatany

    subsequentconviction in state courtconsti
                                            tutes a felony. The governm entarguesthat

    even though the Defendantpled guilty and was convicted ofa m isdem eanor,thatdoes

    notpreclude the governmentfrom charging him as ithas in Violation Num ber 1 with

    ''com m itted the offense offelony battery-priorconviction,contrary to Florida Statute


                                              2
Case 2:06-cr-14028-KMM Document 586 Entered on FLSD Docket 04/26/2017 Page 3 of 6




    784.0342).''Itisthegovernment'spositionthatsincethe Defendanthasa priorbattery
    conviction,thatany subsequentbattery constitutes a felony underFlorida Iaw .

                 The Defendantarguesthathe has ataIItim es been willing to resolve this

    m atterand adm itthathe had pled nolo contendere to a m isdem eanorand found guil
                                                                                    ty

    ofthatoffense in state coud.However,the Defendantargues thathe wasnotconvicted

    offelony battery-priorcohviction.

          8,     Florida Statute 784.0342)states asfollows:
                 A person w ho has one priorconviction forbattery,aggravated
                 battery,orfelony battery and who com m i ts any second or
                 subsequentbattery com m its a felony ofthe third degree,
                 punishable as provided in F.S.775.082,775.083,or775.084.
                 Forpurposes ofthis subsection,'conviction''means a
                 determ ination ofguiltthatis the resultofa plea ora trial,
                 regardless ofwhetheradjudication is withheld ora plea of
                 nolo contendere is entered.

    Based upon the plain reading ofthis statute underw hich the Defendantis charged in

    Violation Num ber1,any conviction forbattery,whetheri
                                                        tbe m isdemeanorora felony,

    subsequentto a priorconvictionforbattery constitutesa felony,This statute isclearon

    its face and even though the Defendantpled guilty to a Iesser included offense of

    m isdem eanorbattery in the m ostrecentstate coud proceeding,he does have a prior

    batteryconvictionwhichunderthe plainreading ofFlorida Statute784.03(2)makesthis
    subsequentm isdem eanorconviction technically a felony underFlorida Iaw regardless

    ofw hatpunishm entthe state coud decided to im posed.

          9.     A plain reading of Violation Num ber 1 from the Superseding Petition

    alleges thatthe Defendant com m itted the offense offelony battery-priorconviction,

    contraryto Florida Statute 784.03(2).The violation does notstate thatthe Defendant


                                            3
Case 2:06-cr-14028-KMM Document 586 Entered on FLSD Docket 04/26/2017 Page 4 of 6




    was convicted ofa felony. Itonly statesthatthe Defendant''com m itted''the offense of

    felony battery-priorconviction. W hen taking Florida Statute 784,03(2)at its Iiteral
    meaning and applying itto the evidence before this Coud,the Defendanthas a prior

    convictionform isdem eanorbattery and therefore any subsequentconviction would be

    considered a felony regardlessofw hatIevelofoffense the subsequentconviction is for.

           10.   During the hearing,this Courtstated on the record thatitdisagreed with

    the government's argum entin regardstothe Defendantdlcom m itted felony battery-prior

    conviction''based upon the evidence. This Coud feltthatbased upon the arguments

    atthattime thatthere w as insufficientevidence thatthe Defendant'com m itted felony

    batter/'.However,afterthe hearingthisCoud carefull
                                                     y reviewedthe Florida Statute in
    questioninconjunctionwiththemannerinwhichViolationNumber1isaddressedinthe
    Superseding Petition and finds that the Ianguage of the statute clearly covers the

    mannerin w hich the governm enthas charged the Defendant in Violation Num ber1.

    This Coud pointsthis outso there is no confusion in the record since during the hearing

    this Courtdid notcom pletely understand noragree w iththe arguments the governm ent

    was m aking atthe hearing. Nevertheless,a plain reading ofthe statute by the Court

    subsequentto the hearing clearlyshowsthatthe exhibits do establish a priorconviction

    form isdemeanorbattery and therefore any subsequentconviction would fallunderthe

    plain Ianguage ofFlorida Statute 784.03(2)and constitute a felony underFlorida Iaw
    regardless ofthe charge the Defendantpled nolo contendere to orwhatpunishm entthe

    state CircuitCourtim posed.

                 As this Courtstated on the record,ChiefJudge M oore m akes the final

    decision in respectto whetherornotthe Defendantcom m itted a violation and ifhe did

                                              4
Case 2:06-cr-14028-KMM Document 586 Entered on FLSD Docket 04/26/2017 Page 5 of 6




    so,whatw ould be the appropriate disposition ofthis case. Based upon this Court's

    handling ofthis m atter,while this Courtis recom m ending thatthe Defendantbe found

    to have violated his supervised release,this Coud hopes thatthe DistrictCoud takes

    into consideration the fact that the Defendant pled nolo contendere to only a

    m isdem eanoroffense. The arguments m ade by counselforthe Defendantbefore this

    Courtm ay be appropriately raised and ofassistance to ChiefJudge M oore atthe tim e

    of sentencing concerning the actual offense to which the Defendant pled nolo

    contendere in state courtand the disposition he received inthe state courtproceedings.

          ACCO RDING LY ,based upon the foregoing,this Coud recom mends to the

    DistrictCoud thatthe Defendantbe found to have violated his supervised release in

    respectto Violation Num ber1 ofthe Superseding Petition only based upon his prior

    conviction form isdem eanorbattery and his subsequentconviction for m isdemeanor

    batterywhichundertheIanguageofFloridaStatute784.03(2)constitutesafelonyunder
    Florida law.

          The padies shallhave foudeen (14)days from the date ofthis Reportand
    Recommendationwithinwhichtofile objections,i
                                               fany,withthe Honorable K.Michael
    Moore,the United States DistrictJudge assigned to this case.Pursuantto Federal

    Rules ofCriminalProcedure,Rule 59(b)(2),failure to file objections timely waives a
    pady's rightto review and bars the parties from attacking on appealany Iegalrulings

    and factualfindings contained herein.




                                             5
Case 2:06-cr-14028-KMM Document 586 Entered on FLSD Docket 04/26/2017 Page 6 of 6




          DONE AND SUBM ITTED this               v day ofApril,2017,atFortPierce,Northern

    Division ofthe Southern DistrictofFlorida.

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                                                  . L NC oJR.

                                                 UNIT STATES MAG ISTRATE JUDGE




    cc:
    Hon.K.M ichaelM oore
    AUSA Marton Gyires
    AFPD FletcherPeacock
    U.S.Probation
    U.S.Marshal




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